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                                              AF'FIDAVIT

       I, Colin M. Simons, being first duly swom, hereby depose and state as follows:


                                            INTRODUCTION

        1.      I submit this affidavit in support of a criminal complaint charging Antonio

VERGARA with violating TrtleZl,United States Code, Sections Sa1(a)(l), 841(bXlXB), namely,

knowing and intentional possession with intent to distribute 40 grams or more of a mixture and

substance containing a detectible amount ofN-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]

propanamide ("fentany1"), a Schedule   II controlled   substance.

       2.       I am a Special Agent with the Federal Bureau of Investigation ("FBI") curently

assigned to the Burlington, Verrnont Resident Agency of the Albany, New York        Division. I have

been a Special Agent for over 15 years.     I am responsible for working a variety of criminal

violations, to include violent crime and gangs. I have also been the affiant to numerous federal

complaints and search warrants pertaining to violent crime and drug crimes. As a Special Agent         I

am authorized to investigate violation of laws of the United States and to execute warants issued

under the authority of the United States.

        3.      The facts in this affidavit come from my training and experience, my review      of

documents and reports, my own participation in the investigation, and conversations with other law

enforcement officers. This affidavit is intended to demonstate that there is probable cause to

believe VERGARA committed the offense alleged and does not set forth all of my knowledge about

this matter.

        4.      On October 26,2022,members of the FBI and Vermont Drug Task Force ("VDTF')

and were electronically monitoring VERGARA's location. Investigators observed VERGARA

havel southbound on Interstate 91 from Vermont into Massachusetts. FBI Special Agent Carl

Ruprecht and FBI Task Force Officer Luis Rivera, who are members of the FBI's Western
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Massachusetts Gang Task Force, located a white Audi Q3 bearing Verrnont registration HWL871               in

an area consistent with the location indicated by the electronic location monitoring of VERGARA.

I know from my investigation that this particular vehicle is registered jointly to VERGARA's live-

in girlfriend and a third party. VDTF has observed VERGARA operate this vehicle in the past.

       5.      After the white Audi was located by members of the FBI, Massachusetts State Police

Trooper Theodore Tudryn observed the vehicle and identified VERGARA as the driver based on

his review of a booking photograph of VERGARA and an image from a recent law enforcement

interaction. He also observed that VERGARA was the sole occupant of the vehicle. Trooper

Tudryn confirned with the Massachusetts Department of Motor Vehicles that VERGARA's

driver's license was suspended and attempted a haffic stop of VERGARA by pulling behind the

white Audi and activating his emergency lights at approximately mile marker 30.4 on InLterstate 91

northbound in the town of Hatfield, Massachusetts. When Trooper Tudryn activated his emergency

blue lights, VERGARA accelerated to over 120 miles per hour. During his pursuit, Trooper Tudryn

observed   VERGAIL{ drive through    a construction zone, drive into the breakdown lane on   multiple

occasions to travel around traffic, and ddve in-between cars traveling in the right and left lanes   of

Interstate 91. Trooper Tudryn eventually discontinued the pursuit due to the excessive speed and

public safety concern.

       6.      Investigators continued to electonically monitor VERGARA's location as he

tavelled northbound on Interstate 91 into Vermont. VDTF Detective Trooper Andrew Todd

observed VERGARA traveling northbound on Interstate 91 and estimated YERGARA's speed to be

greater thar. 120 miles per hour.

       7.      Vermont State Police ("VSP") Sgt. Lyle Decker was stationary and equipped with

spike stips at approximatd mile marker 109 on Interstate 91 northbound in the area of Newbury,

Vermont. Sgt. Decker observed VERGARA's white Audi approach his location traveling at a high
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rate of speed. Sgt. Decker deployed the spike strips, striking the left front tire of the Audi.

VERGARA continued driving at a high rate of speed for approximately two miles and eventually

stopped on the center median. VERGARA exited the white Audi and was taken into custody.

         8.      VSP Det. Sgt. Karl Gardner approached the white Audi, looked through the

passenger window, and observed that an open black plastic bag was located on the front passenger

seat. Inside the open black plastic bag, Det. Sgt. Gardner immediately recognized what he believed

from his training and experience was pre-packaged heroirVfentanyl, depicted in the photograph

below.




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       9.       Det. Sgt. Gardner seized the suspected heroin/fentanyl, which was later determined

to consist of approximately 5,500 individual bags. The suspected heroin/fentanyl was eventually

field tested by VDTF Detective Aaron Lefebvre with a Sirchie NARK II (Narcotic Analysis

Reagent   Kit), which returned    a   positive result for fentanyl.

        10.     VERGARA later waived his Minurda rights and spoke with me. Among other

things, VERGARA stated that he uses fentanyl and doesn't sell any controlled substances.

VERGARA also stated that the approximately 5,500 bags of fentanyl which were seized by

investigators were for personal use.

        11.     According to a2022 affidavit of Trisha Conti, Director of the Vermont Forensic

              ooan
Laboratory,          estimation of the suspected heroin/fentanyl contained in a submission/case can be

calculated by multiplying the number of suspected heroin/fentanyl packages in the submission by

20.5 milligrams, the average weight of powder contained in heroin and/or fentanyl packages."

Accordingly, the approximately 5,500 bags of fentanyl seized from the urhite Audi are equivalent to

approximately 1,12.75 grams. I know from my training and experience that this large quantity      of

fentanyl is inconsistent with a quantity intended for personal use, and is instead consistent with

intended distribution.


       Dated at Burlington, in the District of Vermont,this2Tfi day of October 2022.




                                                          Colin M. Simons
                                                          FBI Special Agent


       Subscribed and sworr to before me on 27fi October 2022.
